                                                              United States Bankruptcy Court
                                                              Middle District of Pennsylvania
In re:                                                                                                                 Case No. 21-00246-RNO
Robert T Pollara                                                                                                       Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0314-5                                                  User: AutoDocke                                                             Page 1 of 4
Date Rcvd: Feb 11, 2021                                               Form ID: tele341                                                          Total Noticed: 93
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

++               Addresses marked '++' were redirected to the recipient's preferred mailing address pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.P.2002(g)(4).

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Feb 13, 2021:
Recip ID                   Recipient Name and Address
db                         Robert T Pollara, 102 Bartleson Deer Trail, Greentown, PA 18426-8916
5389882              ++    AMERICAN HONDA FINANCE, P O BOX 168088, IRVING TX 75016-8088 address filed with court:, American Honda Finance, 1220
                           Old Alpharetta Rd Ste 350, Alpharetta, GA 30005-3972
5389881                    American Express, PO Box 981535, El Paso, TX 79998-1535
5389883                    Andrew Sklar Esquire, 20 Brace Rd Ste 205, Cherry Hill, NJ 08034-2634
5389884                    Barbco, Inc., PO Box 30189, East Canton, OH 44730-0189
5389886                    Berkshire Hathaway Guard Insurance, PO Box AH, Wilkes Barre, PA 18703-0020
5389887                    BlackRock Pipeline Services LLC, 21346 Saint Andrews Blvd Ste 404, Boca Raton, FL 33433-2432
5389895                    Consolidated Energy Company, PO Box 278, Byron, MN 55920-0278
5389896                +   Country Waste, PO Box 8010, Clifton Park, NY 12065-8010
5389897                    Cristiano Welding Supply, 4961 Birney Ave, Moosic, PA 18507-1205
5389898                    David E. Draper CPA, PO Box 609, Waverly, PA 18471-0609
5389899                    Davids Hydro Vac, Inc., 2320 Leibel St, White Bear Lake, MN 55110-2308
5389879                    Doran & Doran PC, 69 Public Sq Ste 700, Wilkes-Barre, PA 18701-2588
5389900                    Drilling Mud Direct, LLC, 6 Inverness Ct E, Englewood, CO 80112-5516
5389901                    Ellen Buck, 61 Van Wyck St, Croton On Hudson, NY 10520-2532
5389902                    Elliott Ufret, 96 Hoslers Rd, Westtown, NY 10998-3513
5389903                    Exxonmobil Online, PO Box 639, Portland, ME 04104-0639
5389904                +   Fire Safety USA, 3253 19th St NW, Rochester, MN 55901-6794
5389905                    First Insurance Funding, 450 Skokie Blvd Ste 1000, Northbrook, IL 60062-7917
5389906                    Flex Fleet Rental LLC, c/o Joshua Redford Euler Homes Collectio, 800 Red Brook Blvd Ste 400C, Owings Mills, MD 21117-5173
5389907                    Gabrielle D'Agostino, 4781 N Congress Ave # 1165, West Palm Beach, FL 33401
5389908                    Green Capital Funding LLC, 116 Nassau St Rm 804, New York, NY 10038-2481
5389909                    Hartford Financial Services Group Inc., 690 Asylum Ave, Hartford, CT 06155-0002
5389911                +   Hudson Black, Inc., 270 Sparta Avaenue Ste 104, Sparta, NJ 07871-1122
5389914                    INROCK Drilling Systems, Inc., 6000 Brittmoore Rd, Houston, TX 77041-5622
5389912                    Indy Bank, c/o Cenlar Loan Admin., PO Box 77404, Ewing, NJ 08628-6404
5389913                    Inga K. Shcuchard Kingland Esquire, 8300 Norman Center Dr Ste 1000, Minneapolis, MN 55437-1060
5389916                    International Brotherhood of Teamsters, 25 Louisiana Ave NW, Washington, DC 20001-2130
5389919                    JPI Construction, Inc., 8170 Ronson Rd Ste C, San Diego, CA 92111-2008
5389917                    John D. Coyle, Esquire, Bevan Mosca & Giuditta PC, 222 Mount Airy Rd Ste 200, Basking Ridge, NJ 07920-2335
5389918                    Jonathan Pollara, 102 Bartleson Deer Trl, Greentown, PA 18426-8916
5389923                +   KMM Telecommunications, 1900 Lakeway Dr Ste 100, Lewisville, TX 75057-6012
5389920                +   Kash Capital, 1022 Avenue M, Brooklyn, NY 11230-4747
5389924                    Komatsu America Corp, 2240 Bethlehem Pike, Hatfield, PA 19440-1608
5389925                    Komatsu Finance, 8770 W Bryn Mawr Ave Ste 100, Chicago, IL 60631-3782
5389926                    LD Trucking LLC, 180 Henne Rd, Bernville, PA 19506-8706
5389931                    MN Dept of Employment & Economic Dev, 390 Robert St N, Saint Paul, MN 55101-1805
5389927                    Marvin Hose & Jeff Carlson Trustees, Local #49 IUOE c/o Ruth S. Marcott, Esqu, 60 S 6th St Ste 3400, Minneapolis, MN 55402-4018
5389928                    Mercury Card Services, PO Box 84064, Columbus, GA 31908-4064
5389929                    Michael Crabtree CEO Central Pension Fnd, c/o Daniel Keenan, Esquire, 5301 Wisconsin Ave NW Ste 800, Washington, DC 20015-2000
5389930                    Michael F J Romano, Esquire, 52 Newton Ave, Woodbury, NJ 08096-4610
5389932                    Oasis Funding Group, 122 E 42nd St Rm 2112, New York, NY 10168-2100
5389933                    Operating Engineers Local #49, c/o Ruth S. Marcott Esquire, 60 S 6th St Ste 3400, Minneapolis, MN 55402-4018




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5389934                    Patrick A. Walsh, Esquire, 715 N State St, Clarks Summit, PA 18411-9494
5389935                    Paul D. Hollen III, 804 Natchez Cir, Mount Pleasant, SC 29464-5423
5389936                    Paulson Rock Products, PO Box 187, Mantorville, MN 55955-0187
5389878                    Pollara Robert T, 102 Bartleson Deer Trl, Greentown, PA 18426-8916
5389941               #+   Prism Construction Management, 200 Broadacres Dr, Bloomfield, NJ 07003-3176
5389945                    RLE Equipment, Inc., R457 N Main St, Moscow, PA 18444
5389942                    Rachel R. Stern, Manning Price & Stern, PO Box 864371, Orlando, FL 32886-4371
5389943                +   Region Capital, 1022 Avenue M, Brooklyn, NY 11230-4747
5389944                    Richard Hopp Fund Counsel, c/o Daniel Keenan, Esquire, 5301 Wisconsin Ave NW Ste 800, Washington, DC 20015-2000
5389946                    Road Machinery & Supplies Co., 5633 Highway 13 W, Savage, MN 55378-1215
5389947                    Ruth S Marcott, Esquire, Katak Rock LLP, 60 S 6th St Ste 3400, Minneapolis, MN 55402-4018
5389948                    SB One Insurance Agency, PO Box 4, Augusta, NJ 07822-0004
5389951              ++    SNAP ON CREDIT LLC, 950 TECHNOLOGY WAY, SUITE 301, LIBERTYVILLE IL 60048-5339 address filed with court:, Snap On
                           Credit LLC, 950 Technology Way Ste 301, Libertyville, IL 60048-5339
5389950                +   Sheffield Financial, 150 S Stratford Rd, Winston Salem, NC 27104-4228
5389952                +   Snap-On Tools, 2801 80th St, Kenosha, WI 53143-5699
5389954                +   The Robbins Company, 29100 Hall St, Solon, OH 44139-3926
5389955                    Thomas S. Farley, Esquire, Farley & Bernathy LLC, 2523 Route 6 Ste 1, Hawley, PA 18428-7055
5389956                +   Trenchless Rental Solutions, Inc., PO Box 877, Massillon, OH 44648-0877
5389957                    Tricom Engineering & Construction Svcs, 804 Natchez Cir, Mount Pleasant, SC 29464-5423
5389959                    URSA Major DC LLC, 102 Bartleson Deer Trl, Greentown, PA 18426-8916
5389960              ++    US BANK, PO BOX 5229, CINCINNATI OH 45201-5229 address filed with court:, US Bank, Cardmember Services, PO Box 6339,
                           Fargo, ND 58125-6339
5389958                    United Rentals (North America) Inc., c/o Mark A. Kirkorsky, PC, PO Box 25287, Tempe, AZ 85285-5287
5389961                    Vermeer All Roads, 925 Merritt Blvd, Baltimore, MD 21222-1435
5389962                    Vermeer North Atlantic, 7 Maple Ave, Lumberton, NJ 08048-2908
5389963                    Waste Management, c/o The Reeivable Mgmt Serv LLC, PO Box 1954, Southgate, MI 48195-0954
5389964                    Wexonline, PO Box 639, Portland, ME 04104-0639
5389965                    Yamaha Financial Services, PO Box 84240, Sioux Falls, SD 57118-4240
5389966                    Yamaha Financial Services Corp USA, PO Box 911007, San Diego, CA 92191-1007
5389967                    Yes Capital Group, 209 Woodpoint Rd, Brooklyn, NY 11211-1608

TOTAL: 72

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                      Date/Time                                Recipient Name and Address
cr                     + Email/PDF: PRA_BK2_CASE_UPDATE@portfoliorecovery.com
                                                                         Feb 11 2021 19:41:09                     PRA Receivables Management, LLC, PO Box
                                                                                                                  41021, Norfolk, VA 23541-1021
5389880                    Email/Text: marie@adtechmotors.com
                                                                                        Feb 11 2021 19:27:00      Adtech, Inc., PO Box 000F, Wayne, OK 73095
5389885                    Email/Text: bankruptcy@bbandt.com
                                                                                        Feb 11 2021 19:27:00      BB&T, PO Box 1704, Clemmons, NC 27012-1704
5389893                    Email/Text: Bankruptcy.RI@Citizensbank.com
                                                                                        Feb 11 2021 19:27:00      Citizens One Auto Finance, JCA 130, PO Box
                                                                                                                  42113, Providence, RI 02940-2113
5389894                    Email/Text: ljohns@commercialcreditgroup.com
                                                                                        Feb 11 2021 19:26:00      Commercial Funding, Inc., 170 S Main St Ste 700,
                                                                                                                  Salt Lake City, UT 84101-1657
5389888                    Email/PDF: AIS.cocard.ebn@americaninfosource.com
                                                                                        Feb 11 2021 19:42:43      Capital One Bank USA NA, PO Box 30285, Salt
                                                                                                                  Lake City, UT 84130-0285
5389889                    Email/PDF: AIS.cocard.ebn@americaninfosource.com
                                                                                        Feb 11 2021 19:44:22      Capital One Bank USA NA, PO Box 31293, Salt
                                                                                                                  Lake City, UT 84131-0293
5389910                    Email/Text: miller@hnbbank.com
                                                                                        Feb 11 2021 19:27:00      Honesdale National Bank, PO Box 350,
                                                                                                                  Honesdale, PA 18431-0350
5389915                    Email/Text: sbse.cio.bnc.mail@irs.gov
                                                                                        Feb 11 2021 19:27:00      Internal Revenue Service, Bankruptcy Section, PO
                                                                                                                  Box 7346, Philadelphia, PA 19101-7346
5389890                    Email/PDF: ais.chase.ebn@americaninfosource.com
                                                                                        Feb 11 2021 19:41:00      Chase, PO Box 15298, Wilmington, DE
                                                                                                                  19850-5298
5389891                    Email/PDF: ais.chase.ebn@americaninfosource.com
                                                                                        Feb 11 2021 19:44:21      Chase, PO Box 19298, Wilmington, DE
                                                                                                                  19850-5298




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5389892                   Email/PDF: ais.chase.ebn@americaninfosource.com
                                                                                   Feb 11 2021 19:42:41     Chase Slate, PO Box 15298, Wilmington, DE
                                                                                                            19850-5298
5389922                   Email/Text: key_bankruptcy_ebnc@keybank.com
                                                                                   Feb 11 2021 19:28:00     KEYBANK NA, 4910 Tiedeman Rd, Brooklyn,
                                                                                                            OH 44144-2338
5389921                   Email/Text: key_bankruptcy_ebnc@keybank.com
                                                                                   Feb 11 2021 19:28:00     Key Bank, Loan Client Services, PO Box 5788,
                                                                                                            Cleveland, OH 44101-0788
5389940                   Email/Text: bkrgeneric@penfed.org
                                                                                   Feb 11 2021 19:27:00     Pentagon Federal Credit Union, PO Box 247009,
                                                                                                            Omaha, NE 68124-7009
5389937                   Email/PDF: gecsedi@recoverycorp.com
                                                                                   Feb 11 2021 19:40:52     Pay Pal Credit, PO Box 960006, Orlando, FL
                                                                                                            32896-0006
5389938                   Email/PDF: gecsedi@recoverycorp.com
                                                                                   Feb 11 2021 19:42:33     PayPal Extras Mastercard/Synchrony Bank, PO
                                                                                                            Box 960080, Orlando, FL 32896-0080
5389939                   Email/Text: RVSVCBICNOTICE1@state.pa.us
                                                                                   Feb 11 2021 19:27:00     Pennsylvania Department of Revenue, Bankruptcy
                                                                                                            Division, PO Box 280946, Harrisburg, PA
                                                                                                            17128-0946
5389953                   Email/Text: legal@southstarcapital.com
                                                                                   Feb 11 2021 19:27:00     Southstar Financial LLC, 840 Lowcountry Blvd,
                                                                                                            Mount Pleasant, SC 29464-3000
5389949                   Email/Text: Bankruptcy@selective.com
                                                                                   Feb 11 2021 19:27:00     Selective Insurance, PO Box 7950, Trenton, NJ
                                                                                                            08650-7950
5389795                 + Email/PDF: gecsedi@recoverycorp.com
                                                                                   Feb 11 2021 19:42:33     Synchrony Bank, c/o PRA Receivables
                                                                                                            Management, LLC, PO Box 41021, Norfolk, VA
                                                                                                            23541-1021

TOTAL: 21


                                                     BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                    NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Feb 13, 2021                                         Signature:          /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on February 11, 2021 at the address(es) listed
below:
Name                              Email Address
John J Martin (Trustee)
                                  pa36@ecfcbis.com trusteemartin@martin-law.net

Lisa M. Doran
                                  on behalf of Debtor 1 Robert T Pollara ldoran@dorananddoran.com

United States Trustee
                                  ustpregion03.ha.ecf@usdoj.gov




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               NOTICE REGARDING TELEPHONIC CHAPTER 7 § 341 MEETINGS IN THE
                           MIDDLE DISTRICT OF PENNSYLVANIA
The U.S. Trustee Program has extended the requirement that section 341 meetings be conducted by telephone or
video appearance to all cases filed during the period of the President's "Proclamation on Declaring a National
Emergency Concerning the Novel Coronavirus Disease (COVID−19) Outbreak" issued March 13, 2020, and ending
on the date that is 60 days after such declaration terminates. However, the U.S. Trustee may approve a request by a
trustee in a particular case to continue the section 341 meeting to an in−person meeting in a manner that complies
with local public health guidance, if the U.S. Trustee determines that an in−person examination of the debtor is
required to ensure the completeness of the meeting or the protection of estate property. This policy may be revised at
the discretion of the Director of the United States Trustee Program.

Given the foregoing, this notice addresses the protocol for telephonic appearances for chapter 7 section 341 meetings
only. Chapter 13 debtors should refer to their standing trustee's protocol or website for additional information.

All debtor attorneys and debtors are encouraged to participate in section 341 meetings by telephone, or by such
remote means as the trustee has established and noticed. Attorneys and debtors may call in from separate locations.
Creditors and creditor attorneys may appear remotely and should use the information provided below or on the docket
to participate.

All parties are encouraged to contact the case trustee, check the case docket, and the UST Website at
https://www.justice.gov/ust for up−to−date information about section 341 meetings of creditors.
Unless otherwise instructed, to participate in a telephonic section 341 meeting, you should use the Call−In
Number and Passcode assigned to your trustee, which is listed below.

Unless otherwise directed by your trustee, please call−in five minutes before your assigned meeting time and mute
your telephone until your case is called. Please follow the instructions below to ensure a smooth telephonic section
341 meeting of creditors.

      • You must use a touch−tone phone.
      • If you have a choice, use a landline phone, instead of a cell phone.
      • Dial the call−in number and then enter the passcode, which consists of 7 numbers and is followed by a # sign.
      • Make the call from a quiet area where there is as little background noise as possible.
      • Mute your phone and do not speak until the bankruptcy trustee calls your case. (Other meetings of creditors
        may be in session when you call in. You may be able to hear the trustee even when your phone is muted.)
      • Unmute your phone when the trustee calls your case so that the trustee can hear you.
      • When speaking, identify yourself.
      • Do not put the phone on hold at any time after the call is connected.
      • Once your meeting of creditors is finished, hang up.
      • If you become disconnected before your meeting of creditors is finished, call back.
      • If you are calling in from another country, please see the additional information available at:
        https://www.mymeetings.com/audioconferencing/pdf/GlobalAccessDialingInformation.pdf

Debtor's counsel must verify on the record that they have confirmed their client's identity prior to the section 341
meeting of creditors, either via Facetime or Skype or other means.

Required documents for the section 341 meeting of creditors should be provided to the trustee a week prior to the
section 341 meeting of creditors. These documents should include information sufficient for the trustee to verify the
debtor's SSN. Debtors shall have these documents available during the section 341 meeting of creditors in the event
there are questions about the information in the documents.

The section 341 meeting of creditors will be recorded by the trustee. Any other recordings are prohibited.

                        Trustee                 Call−In Number                 Passcode
            Steven Carr                   1−888−282−8246                8589279
            Mark Conway                   1−866−773−1875                5761176
            Lawrence Frank                1−866−724−5066                1380190
            Leon Haller                   1−866−507−4642                2179536
            John Martin                   1−866−809−8952                7685517
            William Schwab                1−866−707−7516                4801433
            Robert Sheils                 1−866−714−3930                1832207
            Lawrence Young                1−866−453−7506                2896054




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